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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                              SOUTH BEND DIVISON

TRISHA N. CARRICO                            )
                                             )
        Plaintiff,                           )
v.                                           )      Case No: 3:20-CV-1039
                                             )
BOARD OF COMMISSIONERS OF ST.                )
JOSEPH COUNTY and MUHAMMAD                   )
SHABAZZ,                                     )
                                             )
        Defendants.                          )


                                NOTICE OF SETTLEMENT

        COMES NOW, the Plaintiff, Trisha Carrico, by counsel, Daniel H. Pfeifer, and hereby
notifies the Court that this matter has settled. Formal dismissal documents will be filed shortly.

                                             Respectfully Submitted,


                                             /s/ Daniel H. Pfeifer
                                             Daniel H. Pfeifer (5720-71)
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